                 Case 1:17-bk-11641        Doc 49 Filed 03/07/18 Entered 03/07/18 08:55:06                      Desc
                                              Vacating LM etal Page 1 of 1

                                           UNITED STATES BANKRUPTCY COURT
                                               DISTRICT OF RHODE ISLAND


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        In Re: Lisa M. McMahon                                 BK No. 1:17−bk−11641
           Debtor(s)                                          Chapter 13
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                                   ORDER VACATING REQUEST FOR LOSS MITIGATION

        Upon the request to participate with MTGLQ Investors, L.P. in the Loss Mitigation Program filed by the debtor[s]
        as to the Debtor residence, located at 48 Patrick Way, Warwick, RI 02886, and on 11/20/2017 , the court entered an
        Order (doc# 24 ) granting the Debtor's request to participate in loss mitigation, and on 3/6/2018 , the Debtor filed a
        Withdrawal of the Loss Mitigation Notice requesting that the loss mitigation be vacated (doc.# N/A ). It is hereby
        ORDERED that the order granting participation in the Loss Mitigation Program of the United States Bankruptcy
        Court, District of Rhode Island is VACATED.




                                                                So Ordered:




                                                                Date: 3/7/18
          Entered on Docket: 3/7/18
          Document Number: 49 − 24
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